M. Gregory Balko, M.D.
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March 20, 2014

Tamela J. White

Farrell, Farrell & Farrell, PLLb
914 Fifth Avenue
Huntington, WV 25772-6457

Dear Ms. White:

At your request, | reviewed the following materials from the Pymale v. Miller
case.

1. The Complaint,

2. 4 glass tissue slides — St. Mary’s Medical Center - SSP11-09333 (2 recuts) and
Dermatopathology Labs of Central States - D12-50459 (2 slides),

3. 2 corresponding pathology reports,

4. Plaintiff's Expert Witness Disclosure.

lam a licensed physician certified by the American Board of Pathology in anatomic
pathology, neuropathology and forensic pathology.

The contents of this report are based upon extensive education, training and experience

in anatomic, forensic and neuropathology. The opinions are expressed with reasonable
medical probability.

Review of the 2 glass tissue slides, D12-50459, reveals the presence of a melanoma with
involvement of the tissue margins. Examination of the recut glass tissue slides, SSP11-
09333, discloses decalcified fragments of osteoporotic, focally fibrotic, bone and scant
associated soft tissue. Processing artifact is present. Tumor is not identified.
Photomicrographs of both specimens have been prepared.

These opinions are based on the materials and the information available to me at the
time of this report. | have requested and intend to review the original tissue slides upon
those being made available through the hospital. | reserve the right to change, expand
or amend this report if additional evidence is submitted for my consideration.

Sincerely, EXHIBIT

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M. Gregory Balko, M. D.
Case 3:13-cv-14953 Document 39-1 Filed 05/15/14 Page 3 of 3 PagelD #: 197
PLYMALE, TILLIE TAENE Enc FiGi5054072 CPT CPS Miller, Sirt 19/28/7911 10/2$/201_ Pathology Cyto ogy
haved rob 25/2911 1 pgs
prs cyt Department of Pathology
ST MARY S 2900 First Avenue - Huntington, WV 25702
Mf EDICAT. CRN] ER Phone: 304-526-1066 / 1074 - Fax: 304-526-1585
: Thomas H. Dougherty, M.D. - Medical Director of Laboratories

SURGICAL PATHOLOGY REPORT

Accession # SSP-11-09333 Procedure Date: 10/25/2011 | Recelwed Date: 10/25/2011
Patient Name: DOB: 10/12/1942 SSN: XXX-XX-XXXX
PLYMALE, BILLIE ! Sex / Age: F/69Y MRN: 138012
Adm./Reg. Date: 10/25/2011 Location: DIS Account # | 109305409
[| Requesting Doctor: KIRT MILLER. DPM Admitting Doctor: KIRT MILLER DPM
Pre-Operative Diagnosis:

Chronic ulcer 4th metatarsal head left foot

Post-Operative Diagnosis:
Chronic alcer 4th metatarsal head left foot

Specimen:
BONE fRAGMENTS; 1th metatarsal head left foot

Gross Description:

The specimen ts received in formalin labeled “4® metatarsal head lef foot” and consists of a lan bony
fragment measuring 1.5x 1.5 x 0.8 cm. ‘the specimen ts serially sectioned and submitted in its enurety in
two cassettes after overnight decalcification. GP/rgh

Final Diagnosis:
4b metatarsal head, left foot: Osteoporotic bone showing focal marrow space fibrosis; no histologic
evidence of osteomyelitis.

PRD /sne

The case has been electronically signed by:

PAUL DURST, M.D.
Completed Date: 10/29/2011
Completed Time: 20:24

Location: DIS / MRN: 158012 Patient Name: eesences PLYMALE, BILLIE I
Reg. Dr.: KIRT MILLER. DPM Account # — 109305409 | Accession # SSP-11-09333
Printed Date: 10/29/2011 8:24 PM Completed Date: 10/29/2011 Page 1 of 1

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